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 1   JOAN JACOBS LEVIE, #179787
     LAW OFFICES OF JOAN JACOBS LEVIE
 2   2014 TULARE STREET, SUITE 528
     FRESNO, CALIFORNIA 93721
 3   TELEPHONE: (559) 498-8155
     FACSIMILE: (559) 498-8165
 4
     Attorney for Defendant, JOSE BIRRUETA MACIAS
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 6
 7                    IN THE UNITED STATES DISTRICT COURT FOR THE
 8                              EASTERN DISTRICT OF CALIFORNIA
 9
10      UNITED STATES OF AMERICA,           )            NO. 1:07-CR-00269-AWI
                                            )
11                        Plaintiff,        )            STIPULATION TO CONTINUE
                                            )            SENTENCING HEARING;
12            v.                            )            ORDER
                                            )
13      JOSE BIRRUETA MACIAS, et al.,       )            SCHED. DATE: December 14, 2009
                                            )            REQST. DATE: December 21, 2009
14                        Defendant.        )            TIME:        9:00 A.M.
        ____________________________________)            COURT RM:    2
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16
17          IT IS HEREBY STIPULATED between the parties, by and through counsel for the
18   government, Laurel Montoya and Joan Jacobs Levie, counsel for Defendant JOSE BIRRUETA
19   MACIAS, that the date of the sentencing hearing, currently scheduled for December 14, 2009 at
20   9:00 a.m., be continued until December 21, 2009 at 9:00 a.m. to accommodate defense counsel's
21   international travel schedule.
22          DATED: November 3, 2009
23   Respectfully submitted,
                                                /S/ Joan Jacobs Levie
24                                              JOAN JACOBS LEVIE
                                                Attorney for Defendant,
25                                              JOSE BIRRUETA MACIAS
26
                                                /S/ Laurel Montoya
27                                              LAUREL MONTOYA
                                                Assistant U.S. Attorney
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 1                                               ORDER
 2          Having read the stipulation of counsel and finding good cause,
 3          IT IS HEREBY ORDERED that the date of the sentencing proceedings will be continued
 4   in accordance with the above stipulation of counsel. The defendant is ordered to return to court
 5   for further proceedings on December 21, 2009.
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 7   IT IS SO ORDERED.
 8   Dated:     November 3, 2009                      /s/ Anthony W. Ishii
     0m8i78                                  CHIEF UNITED STATES DISTRICT JUDGE
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